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Exhibit

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Case 1:21-cr-00028-APM Document1 Filed 01/19/21 Page 1 of1

AO 91 (Rev. 11/11) Crimina! Complaint

UNITED STATES DISTRICT COURT

for the
District of Columbia
United States of America ) Case: 1 214 —mj-001 1 9
. Assigned To : Faruqui, Zia M.
ee ) Assign. Date : 1/19/2021
Thomas Edward Caldwell, Description: Complaint w/ Arrest Warrant
)
Defendant(s)

AMENDED CRIMINAL COMPLAINT

I, the complainant in this case, state that the following is true to the best of my knowledge and belief.

On or about the date(s) of January 6, 2021 in the county of in the
_ District of Columbia , the defendant(s) violated:
Code Section Offense Description
18 U.S.C. § 371 Conspiracy
18 U.S.C. § 372 Conspiracy to Impede or Injure Officer Without Lawful Authority
18 U.S.C. § 1361 Destruction of Government Property
18 U.S.C. § 1512(c)(2) Obstruction of an Official Proceeding
18 U.S.C. § 1752(a) Restricted Building or Grounds
40 U.S.C. § 5104(e)}(2) Violent Entry and Disorderly Conduct on Capitol Grounds

This criminal complaint is based on these facts:

See attached affidavit, which is incorporated herein by reference.

wt Continued on the attached sheet. Mehul (#

Complainant's signature

Michael M. Palian Jr., Special Agent, FBI

Printed name and title

Attested to by the applicant in accordance with the requirements of Fed. R. Crim. P. 4.1 by

Telephone (specify reliable electronic means). fe 2021.01.19
Date: 01/19/2021 vies 12:58:31 -05'00'
. Judge's signature
City and state: Washington, D.C. ZIA M. FARUQUI U.S. MAGISTRATE JUDGE
Printed name and title

Defense/Caldwell Exhibit No. _
Case No. 22-15 APM
Identification

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IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLUMBIA
Case: 1:21-mj-00119

UNITED STATES OF AMERICA : Assigned To : Faruqui, Zia M.
Assign. Date : 1/19/2021
Vv. : Description: Complaint w/ Arrest Warrant
: VIOLATIONS:
THOMAS EDWARD CALDWELL,
: 18 U.S.C. § 371
DONOVAN RAY CROWL, and ; (Conspiracy)
JESSICA MARIE WATKINS, : 18 U.S.C. § 372

(Conspiracy to Impede or Injure Officer)
Defendants.

18 U.S.C. § 1361
(Destruction of Government Property)

18 U.S.C. § 1512(c)(2)
(Obstruction of an Official Proceeding)

18 U.S.C. § 1752(a)
(Restricted Building or Grounds)

40 U.S.C. § $104(e)(2)
(Violent Entry or Disorderly Conduct)

AFFIDAVIT IN SUPPORT OF AMENDED CRIMINAL COMPLAINT

I, Michael M. Palian Jr., being first duly sworn, hereby depose and state as follows:

PURPOSE OF AFFIDAVIT

1. This Affidavit is submitted in support of an Amended Criminal Complaint charging
THOMAS EDWARD CALDWELL, DONOVAN RAY CROWL, and JESSICA MARIE
WATKINS with violations of 18 U.S.C. §§ 371, 372, 1361, 1512(c)(2), 1752(a), and 40 U.S.C. §
5104(e)(2) (hereinafter, “Subject Offenses”). This Amended Criminal Complaint is intended to
amend, or supersede, the Criminal Complaints filed in each individual’s case on January 16-17,
2021. This Affidavit sets forth additional evidence establishing probable cause that CALDWELL,

CROWL, and WATKINS conspired together, and with others known and unknown, to obstruct the
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United States Congress’ affirmation of the Electoral College vote regarding the results of the 2020

U.S. Presidential Election, and that they committed other related federal crimes in furtherance of

that purpose, as set forth below.

2.

I respectfully submit that this Affidavit establishes probable cause to believe that

CALDWELL, CROWL, and WATKINS:

a.

3.

Knowingly and willfully conspired together and with others whose identities are
known and unknown to law enforcement at this time to commit an offense
against the United States, in violation of 18 U.S.C. § 371, that is, to corruptly
obstruct, influence, or impede an official proceeding in violation of 18 U.S.C.
§ 1512(c)(2); and

Conspired together and with others whose identities are known and unknown to
law enforcement at this time to prevent, by force, intimidation, or threat, officers
of the United States from discharging their duties; to injure them on account of
the lawful discharge of the duties of their offices; and to injure their property so
as to interrupt, hinder, or impede them in the discharge of their official duties, in
violation of 18 U.S.C. § 372; and

Attempted to willfully injure or commit depredation against any property of the
United States, in violation of 18 U.S.C. § 1361; and

Corruptly obstructed, influenced, and impeded an official proceeding, in
violation of 18 U.S.C. § 1512(c)(2); and

Entered and remained in any restricted building and grounds without lawful
authority, and knowingly, and with intent to impede or disrupt the orderly
conduct of Government business and official functions, engaged in disorderly
and disruptive conduct, in violation of 18 U.S.C. § 1752(a); and

Willfully and knowingly engaged in disorderly and disruptive conduct, at any
place in the Grounds and in any of the Capitol Buildings with the intent to
impede, disrupt, and disturb the orderly conduct of a session of Congress or
either House of Congress, and the orderly conduct in that building of any
deliberations of either House of Congress, in violation of 40 U.S.C.
§ 5104(e)(2).

BACKGROUND OF AFFIANT

I am a Special Agent with the FBI] and have been so employed since February 2003.

As a Special Agent with the FBI, I am empowered by law to conduct investigations, make arrests,
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and execute and serve search and arrest warrants for offenses enumerated in Title 21 and Title 18
of the United States Code. I have a Ph.D in bio-organic chemistry, and have also received training
and gained experience in a variety of criminal laws and procedures, including those involving drug
distribution, white collar crime and crimes of violence. Through my training, education and
experience, | have become familiar with the manner in which criminal activity is carried out, and
the efforts of persons involved in such activity to avoid detection by law enforcement. In addition
to my regular duties, I am currently tasked with investigating criminal activity that occurred in and
around the U.S. Capitol grounds on January 6, 2021.

4, Unless otherwise stated, the information in this Affidavit is either personally known
to me, has been provided to me by other individuals, or is based on a review of various documents,
records, and reports, Because this Affidavit is submitted for the limited purpose of establishing
probable cause, it does not contain every fact known by me or the United States. The dates listed
in this Affidavit should be read as “on or about” dates.

BACKGROUND

The Incursion at the U.S. Capitol on January 6, 2021

5. The U.S. Capitol, which is located in the District of Columbia, is secured 24 hours
a day by U.S. Capitol Police. The Capitol Police maintain permanent and temporary barriers to
restrict access to the Capitol exterior, and only authorized individuals with appropriate
identification are allowed inside the Capitol building.

6. On January 6, 2021, at approximately 1:00 p.m., a Joint Session of the U.S. House
of Representatives and the U.S. Senate convened in the Capitol building to affirm the Electoral

College vote in the 2020 Presidential Election. U.S. Vice President Michael R. Pence, in his
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constitutional duty as President of the Senate, presided over the Joint Session. The Capitol’s
exterior plaza was closed to the public.

7. At approximately 1:30 p.m., the House and Senate adjourned to separate chambers
to resolve an objection. Vice President Pence adjourned to the Senate to preside over that chamber’s
proceeding. As the House and Senate proceedings ensued inside the Capitol, certain individuals in
the crowd forced their way through, up, and over Capitol Police barricades intended to protect the
building’s exterior. The crowd thereafter advanced to the building’s exterior facade. Members of
the Capitol Police attempted to maintain order and stop the crowd from entering the Capitol
building, to which the doors and windows were locked or otherwise secured. Nonetheless, shortly
after 2:00 p.m., crowd members forced entry into the Capitol building, including by breaking
windows and assaulting Capitol Police officers, while others in the crowd encouraged and assisted
those acts. The crowd was not lawfully authorized to enter or remain in the Capitol building, and
no crowd member submitted to security screenings or weapons checks by Capitol Police or other
authorized security officials.

8. Shortly thereafter, at approximately 2:20 p.m., members of the House and Senate,
including Vice President Pence, were evacuated from the chambers. The Joint Session and all
proceedings of the U.S. Congress were halted whileCapito!l Police and other law enforcement
worked to restore order and clear the Capitol of the unlawful occupants.

9. At approximately 8:00 p.m., approximately six hours after the crowd breached the
Capitol, the Joint Session resumed, again with Vice President Pence presiding. The Vice President
remained in the U.S. Capito! from the time he was evacuated from the Senate chamber until the

time the Joint Session resumed.
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10. _—_—‘ In the course of these events, approximately 81 members of the U.S. Capitol Police
and 58 members of the Metropolitan Police Department were assaulted. Moreover, according to
the Architect of the Capitol, the office responsible for the Capitol’s operations and care, the building
and grounds suffered more than $1,000 in damage. The damage included broken windows, doors,
and light fixtures; graffiti; and residue of various pepper sprays, tear gas, and fire extinguishers
deployed by members of the crowd and by Capitol Police officers attempting to restore order.

11. National news coverage of the aforementioned events featured video footage, which
appeared to be captured on the mobile devices of persons present on the scene and which depicted
evidence of numerous violations of local and federal law, including violent attacks on law
enforcement officers, vandalism, and significant destruction of the U.S. Capitol building.

The Oath Keepers

12. Law enforcement and news media organizations observed that members of a
paramilitary organization known as the Oath Keepers were among the individuals and groups who
forcibly entered the U.S. Capitol on January 6, 2021. The Oath Keepers are a large but loosely
organized collection of militia who believe that the federal government has been coopted by a
shadowy conspiracy that is trying to strip American citizens of their rights. Though the Oath
Keepers will accept anyone as members, what differentiates them from other anti-government
groups is their explicit focus on recruiting current and former military, law enforcement and first
responder personnel. The organization’s name alludes to the oath sworn by members of the military
and police to defend the Constitution “from all enemies, foreign and domestic.”

Thomas Caldwell, Donovan Crowl, and Jessica Watkins
13. THOMAS CALDWELL is a 65-year-old resident of Clarke County, Virginia.

CALDWELL is believed to have a leadership role within the Oath Keepers. As described more
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fully herein, CALDWELL planned with DONOVAN CROWL, JESSICA WATKINS, and others
known and unknown, to forcibly storm the U.S. Capitol.

14. DONOVAN CROWL is a 50-year-old resident of Champaign County, Ohio.
CROWL is a member of the Ohio State Regular Militia. The Ohio State Regular Militia is a local
militia organization, many of whose members form a dues-paying subset of the Oath Keepers. As
described more fully herein, CROWL planned with CALDWELL, JESSICA WATKINS, and
others known and unknown, to forcibly storm the U.S. Capitol.

15. JESSICA WATKINS is a 38-year-old resident of Champaign County, Ohio. At the
top of WATKINS’ social media account page on Parler, a social networking service, WATKINS
states that she is “C.O. [Commanding Officer] of the Ohio State Regular Militia.” As described
more fully herein, WATKINS planned with CALDWELL, CROWL, and others both known and
unknown, to forcibly storm the U.S. Capitol on January 6, 2021.

STATEMENT OF FACTS SUPPORTING PROBABLE CAUSE

16. As described below, evidence uncovered in the course of the investigation
demonstrates that not only did CALDWELL, CROWL, WATKINS, and others conspire to forcibly
storm the U.S. Capitol on January 6, 2021—they communicated with one another in advance of the
incursion and planned their attack.

17. ‘I have reviewed footage of the January 6, 2021, incursion of the U.S. Capitol,
including a video that, at the approximate 3-minute-and-8-second mark, shows eight to ten
individuals in paramilitary equipment aggressively approaching an entrance to the Capitol

building.' These individuals, who are wearing helmets, reinforced vests, and clothing with Oath

| https://www.youtube.com/watch?v=b76K fHBOQO8&feature-youtu.be (last accessed
January 14, 2021).
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Keeper paraphernalia, can be seen moving in an organized and practiced fashion and forcing their

way to the front of the crowd gathered around a door to the U.S. Capitol.

PICTURE 1

18. A close-up view of the badges on the vest of one of these individuals, seen just under
the Oath Keepers emblem on his shirt, displays the Oath Keepers motto, “Not On Our Watch.”

PICTURE 2

19. Based on the foregoing observations of the video, and information gained in the
course of my investigation, I believe the organized group of individuals marching to the door of the

U.S. Capitol in the video above are members of the Oath Keepers.
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Jessica Watkins
20. _—_‘In the video referenced above, at the approximate 3-hour-and-20-second mark, the

footage shows the uncovered face of an individual in the group of Oath Keepers.

PICTURE 3

21. ‘I have identified this individual to be JESSICA WATKINS by comparing the
footage in the video above to WATKINS’ DMV photograph and other photographs of WATKINS.

22. In addition, in various social media posts, WATKINS has confirmed that on January
6, 2021, she entered the U.S. Capitol by force.

23. For instance, on January 6, 2021, Watkins posted to Parler a photograph of herself
in the same Oath Keepers uniform in which she appears in Picture 3, alongside the statement: “Me
before forcing entry into the Capitol Building. #stopthesteal’ #stormthecapitol #oathkeepers

#ohiomilitia.”

2 Tam aware from public reporting after the 2020 Presidential Election that the social media
hashtag #stopthesteal was used by people who believed, essentially, that the election was influenced
by fraud, and who wanted to stop the Electoral College results from being certified by the Congress.

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PICTURE 4

Ohio Regufar Militia - @Ontostaietequiars
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Me before forcing entry into the Capitol Building
#stopthesteal
#stormthecapitol

Foatnhkeepers
Foniornilitia

Sey

24. Also on Parler, on January 6, 2021, WATKINS posted another video from that day
and wrote, “Yeah. We stormed the Capitol today. Teargassed, the whole, 9. Pushed our way into

the Rotunda. Made it into the Senate even. The news is lying (even Fox) about the Historical

Events we created today.”
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PICTURE 5

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Rotunda Made it into the
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created! Lod

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25. In another Parler post, WATKINS responded to a comment challenging whether she

actually forced entry by confirming, “Nope. Forced. Like Rugby. We entered through the back

door of the Capitol.”

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7 HOt 3g
Forcing entry & they let you
night in

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Hide Replies

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2 ret

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of it Dont worry

Police were harmed in
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26. Furthermore, WATKINS gave a newspaper interview in which she further

confirmed her membership in the Oath Keepers and the fact that she had participated in the
incursion of the U.S. Capitol on January 6, and suggested that she had clashed with U.S. Capitol
Police. On January 13, 2021, the Ohio Capital Journal published an article entitled, Ohio Bartender
and Her ‘Militia’ Drove to D.C. to Join the Capitol Breach.> WATKINS is quoted in the article as
saying, “To me, it was the most beautiful thing I ever saw until we started hearing glass smash.

That’s when we knew things had gotten really bad.” WATKINS also states, “We never smashed

3 https://www.citybeat.com/news/blog/21 147932/ohio-bartender-and-her-militia-drove-to-
dc-to-join-the-capitol-breach (last accessed January 16, 2021).

1]
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anything, stole anything, burned anything, and truthfully we were very respectful with Capitol Hill
PD until they attacked us. Then we stood our ground and drew the line.”

27. In addition, the FBI has obtained an audio recording of Zello* communications
between WATKINS and other suspected Oath Keepers during the Capitol incursion. During the
recorded transmission—believed to be among WATKINS and other Oath Keepers on a Zello
channel called “Stop the Steal J6”—-W ATKINS had the following exchanges (among others) which
are approximately transcribed:

a, At the approximate 5-minute mark, the voice believed to be WATKINS reports,
“We have a good group. We have about 30-40 of us. We are sticking together
and sticking to the plan.” An unknown male responds, ““We’ll see you soon,
Jess. Airborne.”

b. At the approximate 7-minute-and-44-second mark, an unknown male states,
“You are executing citizen’s arrest. Arrest this assembly, we have probable
cause for acts of treason, election fraud.” The voice believed to be WATKINS
responds, “We are in the mezzanine. We are in the main dome right now. We
are rocking it. They are throwing grenades, they are fricking shooting people
with paint balls. But we are in here.” An unknown male responds to WATKINS,
telling her to be safe, and states, “Get it, Jess. Do your fucking thing. This is
what we fucking [unintelligible] up for. Everything we fucking trained for.”

Donovan Crowl
28. ‘In a Parler post on January 6, 2021, WATKINS shared a picture of an individual in
paramilitary gear, wearing an Oath Keeper patch on his arm, and wrote, “One of my guys at the
Stop the Steal Rally today. #stopthesteal #stormthecapitol #oathkeepers #ohiomilitia.” I have
confirmed that the individual whom WATKINS identified “one of my guys” in the picture is
DONOVAN CROWL, by comparing pictures of him at the U.S. Capitol on January 6, 2021, to

DMV records and the Ohio State Regular Militia Parler page.

* Zello is a push-to-talk app that operates like a walkie-talkie on a cellular telephone. The
Zello app may, depending on a user’s settings, store recordings and other information about the
user’s communications on the user’s phone.

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PICTURE 7

Onto Requiar Militia - QOniestaiesecu ars
Ta moursago @ 7é5-

One of my guys at the Stop the Sreal Rally today

sstopthesteal
sstormihecapitol
Foathkeepers
Foniomilitia

Show Comments

29. On January 14, 2021, the New Yorker magazine published an interview with
CROWL entitled, A Former Marine Stormed the Capitol as Part of a Far-Right Militia.’ The
article notes that CROWL was photographed in the Capitol Rotunda on January 6 and references

him as the individual! depicted in the video screenshot in Picture 8 below.

5 https://www.newyorker.com/news/news-desk/a-former-marine-stormed-the-capitol-as-

part-of-a-far-right-militia (last accessed January 16, 2021).

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PICTURE 8

30. Ihave also reviewed photographs of CROWL taken inside the Capitol Rotunda on
January 6, 2021, including one from the New Yorker article that identifies CROWL as the
individual wearing dark glasses with other Oath Keepers. In this photograph, depicted below in
Picture 9, CROWL (red circle) is wearing a green reinforced vest with a label reading “Trapper”
partially visible (yellow circle). I note that, in Picture 7 above, from WATKINS’ Parler page,

CROWL is wearing the same “Trapper” patch.

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PICTURE 9

31. Furthermore, in his interview with the New Yorker, CROWL identified himself as
a member of both the Oath Keepers and the Ohio State Regular Militia, and admitted that he joined
these groups in the January 6 Capitol incursion. CROWL—who admitted to the reporter that he
had been drinking before the interview—stated that he entered the U.S. Capitol on January 6,
claiming he had gone to Washington, D.C., to “do security” for “V.I.P.s” whom he declined to
name. CROWL also stated that his intentions had been peaceful, that he had never been violent,
and that “we protected the fucking Capitol Hill police.” He declined to substantiate the claim during
the interview. CROWL at the same time admitted during this interview that he “expelled three
fucking people” whom he said had been injured. He further elaborated about “patriots [who]

dragged this fucking maggot off the wall and started beating his ass.”

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32. Finally, Ihave viewed a video from the collection of videos amassed by ProPublica.°
One video depicts WATKINS and CROWL together in the Capitol Rotunda. CROWL says, “We
took on the Capitol! We overran the Capitol!” WATKINS exclaims, “We're in the fucking Capitol,

CROWL! WATKINS and CROWL tum the camera around for a video selfie as they do so.

PICTURE 10

6 https://projects.propublica.org/parler-capitol-videos/ (last accessed January 19, 2021).

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Thomas Caldwell

33. CALDWELL also participated in the incursion of the U.S. Capitol on January 6,
2021, as shown by records collected from his Facebook Account.

34. On January 6, 2021, at approximately 7:47 p.m., CALDWELL transmitted a
Facebook message of a video that appears to have been taken near the U.S. Capitol. A screenshot

from the video is below:

PICTURE 11

35. Approximately two minutes later, at 7:49 p.m., CALDWELL sent a Facebook
message stating, “Us storming the castle. Please share. Sharon was right with me! I am such an
instigator! She was ready for it man! Didn’t even mind the tear gas.” Two minutes later,
CALDWELL sent a message noting, “Proud boys scuffled with cops and drove them inside to hide.
Breached the doors. One guy made it all the way to the house floor, another to Pelosi’s office. A
good time.” Less than a minute later, he sent a message directing that, “We need to do this at the
local level. Lets storm the capitol in Ohio. Tell me when!”

36. Furthermore, a cell site analysis reveals that a cell phone registered to Sharon

Caldwell—CALDWELL’s spouse, whom CALDWELL appears to reference in the Facebook

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message above—was present in the vicinity of the Capitol on January 6, 2021, during the time of
the incursion

37. On January 9, 2021, three days after the Capito! incursion, CALDWELL sent a
Facebook message in which he shared a link to a YouTube video and wrote that he appeared at the
2:24 mark, “before the assault.” I have viewed the video,’ and in it, CALDWELL motions to the
Capitol building and shouts, “Every single [expletive beeped in original] in there is a traitor. Every
single one!”

PICTURE 12

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Subsequent Investigation

38. On January 16, 2021, the government obtained a warrant for WATKINS’ and
CROWL’s arrests from the District Court for the District of Columbia, and a warrant to search

WATKINS’ home in Woodstock, Ohio, from the District Court for the Southern District of Ohio.

T https://www.youtube.com/watch?v=LShksM_R59M (last accessed January 18, 2021).

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43. On January 17, 2021, FBI agents in Ohio attempted to execute both warrants in Ohio.
Agents were unable to locate WATKINS, but initiated the search of her home. One record that
agents recovered appears to be directions for making explosives, authored by “The Jolly Roger.” I
know that WATKINS operates a bar known as the Jolly Roger, and is believed to operate a

Facebook account under that same user name.

PICTURE 13

44. —_ Law-enforcement also located within WATKINS’ home protective and battle gear
of the sort wom during the offenses of January 6, 2021 (to include a camouflage hat and jackets; a
backpack with medical/PPE supplies; a black tactical kit with medical supplies, radio, mini drone,

and pepper spray; a bag containing a helmet and respirators; and a bag containing a helmet, radio,

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and belt); cellular telephones; numerous firearms; a paintball gun with rubber-steel balls and a
cylinder; pool cues cut down to baton size; and zip/cable ties, among other items).

45. During a search on January 17, 2021, of a location where CROWL was said to have
occasionally stayed, law enforcement recovered a green reinforced vest. Affixed to the vest was a
label with the name “Trapper,” which, as described above, was the label visible on video and in
photos that captured CROWL during the incursion of the Capitol.

46. While searching WATKINS’ home, agents encountered an associate of
WATKINS’, Witness-1 (W-1). W-1 provided the following information:

a. Although WATKINS returned to Ohio after the January 6, 2021, incursion, she
subsequently left Ohio on or about January 14 to stay with a friend and fellow

Oath Keeper whom W-1 knew as “Tom” or “Commander Tom.” As described
below, your affiant believes this individual is CALDWELL.

b. WATKINS provided W-1 with instructions on how to contact her, including by
providing a phone number with a Virginia area code. A database check for this
phone number revealed that it is a phone registered to CALDWELL’s spouse—
the same phone that a cell site analysis reveals was present in the vicinity of the
Capitol on January 6, 2021, during the time of the incursion.

47. On January 17, 2021, WATKINS and CROWL were arrested together in Ohio by
the FBI. According to a police officer at the Urbana Police Department, where they tumed
themselves in, WATKINS and CROWL stated that they had been in Virginia and had driven eight
hours back to Ohio when they learned the FBI as looking for them. I have also reviewed Facebook
messages that WATKINS and CROWL exchanged on January 14, 2021, in which they discussed
staying at CALDWELL’s home in Virginia, and CROWL indicated he would discuss this option
with CALDWELL. Based on the information above, I believe that between January 14 and 17,
2021, WATKINS, CROWL, and CALDWELL were together at CALDWELL’s residence in

Berryville, Virginia.

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48.

Caldwell, Crowl, and Watkins’ Facebook Messages

Communications that your affiant has reviewed from CALDWELL and CROWL’s

Facebook accounts leading up to the January 6, 2021, show that CALDWELL, CROWL, and

WATKINS planned and organized Oath Keeper activities to challenge the election results.

a.

On December 24, 2021, CALDWELL responded to a Facebook post by writing,
“Driving in with my wife from Berryville VA but am soending night before at
Comfort Inn Arlington/Ballston on Glebe Road. Meeting up with Oathkeepers
from North Carolina and Patriot group from the Shenandoah Valley.”

On December 30, 2021, CALDWELL wrote: “THIS IS OUR CALL TO
ACTION, FREINDS! SEE YOU ON THE 6TH IN WASHINGTON, D.C.
ALONG WITH 2 MILLION OTHER LIKE-MINDED PATRIOTS.”

On December 31, 2021, CALDWELL replied to a Facebook comment, writing,
“It begins for real Jan 5 and 6 on Washington D.C. when we mobilize in the
streets. Let them try to certify some crud on capitol hill with a million or more
patriots in the streets. This kettle is set to boil...”

On January 1, 2021, CALDWELL replied to a Facebook comment, writing, “I
accept that assignment! I swore to support and defend the Constitution of the
United States against all enemies foreign and domestic. I did the former, I have
done the latter peacefully but they have morphed into pure evil even blatantly
rigging an election and paying off the political caste. We must smite them now
and drive them down.”

Also on January 1, 2021, CALDWELL sent a Facebook message to CROWL
recommending a room at the Comfort Inn Ballston for January 5-7, 2021.
CALDWELL wrote: “This is a good location and would allow us to hunt at
night if we wanted to. I don’t know if Stewie® has even gotten out his call to
arms but its a little friggin late. This is one we are doing on our own. We will
link up with the north carolina crew.” The investigation revealed that an
individual who presented herself as “Jessica Wagkins”, whom I believe to be
WATKINS, rented a room at the Comfort Inn Ballston from January 5-7, 2021.

On January 1, 2021, CROWL sent CALDWELL a Facebook message stating,
“Happy New year, to you Sir!! Guess I’ll be seeing you soon. Will probably
call you tomorrow...mainly because...I like to know wtf plan is. You are the
man Commander.”

8 Based on the context of this conversation, I believe that the reference to “Stewie” is to
Elmer Stewart Rhodes, who is known as the leader of the Oath Keepers.

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g. On January 2, 2021, CALDWELL wrote to CROWL, “Check with Cap. I
recommended the following hotel to her which STILL has rooms
(unbelieveble).” CALDWELL then sent a link to the Comfort Inn Ballston, the
same hotel that he recommended to others on January 1. CALDWELL
continued, “Sharon and I are setting up shop there. Paul has a room and is
bringing someone. He will be the quick reaction force. Its going to be cold. We
need a place to spend the night before minimum. Stewie never contacted me so
Sharon and I are going our way. I will probably do pre-strike on the 5th though
there are things going on that day. Maybe can do some night hunting.
Oathkeeper friends from North Carolina are taking commercial buses up early
in the morning on the 6th and back same night. Paul will have the goodies in
case things go bad and we need to get heavy.”

h, On January 3, 2021, WATKINS sent CROWL a Facebook message stating,
“Running a bit behind. I’ll txt when I’m back at the bar. Getting supplies for
DC.”

i. On January 4, 2021, CROWL wrote a message that stated, “Sorry Brother, been
busy planning for this week. Lemme give you a holler later tonight. We are
enroute to DC right now for a few days on an Oathkeepers Op.”

j. On January 5, 2021, an individual wrote CROWL a Facebook message that
stated: “One more thing. Keep eyes on people with Red MAGA hats worn
backwards. Saw a report that they were going to infiltrate crowd tomorrow.”
CROWL replied: “Thanks Brother, but we are WAY ahead on that. We have
infiltrators in Their ranks. We are doing the W.H. in the am and early afternoon,
rest up at the Hotel, then headed back out tomorrow night ‘tifa’ hunt’in. We
expect good hunting.”

k. On January 6, 2021, while at the Capitol, CALDWELL received the following
Facebook message: “All members are in the tunnels under capital seal them in .
Tum on gas”. When CALDWELL posted a Facebook message that read,
“Inside,” he received the following messages, among others: “Tom take that
bitch over’; “Tom all legislators are down in the Tunnels 3floors down”; “Do
like we had to do when I was in the core start tearing oit florrs go from top to
bottom”; and “Go through back house chamber doors facing N left down hallway
down steps.”

l. On January 7, 2021, the day after the incursion, CALDWELL wrote to CROWL,
“Did you like the pictures of us storming the castle? I tried calling Cap a lot but

* I believe that CALDWELL’s use of the word “tifa” is a reference to antifa. According to
the Anti-Defamation league, antifa is a loosely organized anti-fascist protest movement that, in
some instances, has engaged in violent confrontations. See https://www.adl.org/antifa (last
accessed January 19, 2021).

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it was probably hard for het to hear the phone ring.” CROWL responded,
“Loved it.”

m. On January 8, 2021, CROWL sent CALDWELL a message asking for a video.
CALDWELL sent it, and CROWL wrote, “Thank you Sir. Love the hell outta
you Tom.” CALDWELL responded, “You too, my dear friend! We stormed
the gates of corruption together (although on opposite sides of the building) so
between that and our first meeting and getting to know you since I can say we
will always be brothers!”

CONCLUSIONS OF AFFIANT
49. Based on the foregoing, I submit that there is probable cause to believe that
THOMAS EDWARD CALDWELL, DONOVAN RAY CROWL, and JESSICA MARIE
WATKINS committed violations of 18 U.S.C. §§ 371, 372, 1361, 1512(c)(2), 1752{a), and 40
U.S.C. § 5104(e)(2).
50. As such, [ respectfully request that the Court permit the filing of this Amended
Complaint and consolidate these matters under a single case number.

Metal (

SPECIAL AGENT MICHAEL M. PALIAN JR.
FEDERAL BUREAU OF [INVESTIGATION

Attested to by the applicant in accordance with the requirements of Fed. R. Crim. P. 4.1 by

telephone, this 19th day of January, 2021.
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HON. ZIA M. FARUQUI
U.S. MAGISTRATE JUDGE

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